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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 Rob Kline, individually and on          Docket No. 4-18-CV-00099-MWB-KM
 behalf of a class,
                Plaintiff,               (MAGISTRATE JUDGE KAROLINE
                                         MEHALCHICK)
 v.


 Polaris Industries, Inc.,
               Defendant.                ELECTRONICALLY FILED

                             ENTRY OF APPEARANCE


      Kindly enter the appearance of the undersigned Chris R. Miltenberger on

behalf of Plaintiff.




                                     Respectfully submitted,

                                     s/ Brett M. Freeman
                                     Brett M. Freeman
                                     Bar Number PA308834
                                     Carlo Sabatini
                                     Bar Number PA83831
                                     Attorney for Plaintiff
                                     SABATINI FREEMAN, LLC
                                     216 N. Blakely St.
                                     Dunmore, PA 18512
                                     Phone (570) 341-9000
                                     Facsimile (570) 504-2769
                                     Email bfecf@sabatinilawfirm.com
                                            ecf@bankrutpcypa.com


__________________________________________________________________
              Entry of Appearance of Chris R. Miltenberger
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                                  s/ Chris R. Miltenberger
                                  Chris R. Miltenberger
                                  Texas Bar No.: 14171200
                                  Admitted Pro Hac Vice
                                  The Law Office of Chris R. Miltenberger,
                                  PLLC
                                  1340 N. White Chapel, Suite 100
                                  Southlake, Texas 76092-4322
                                  817-416-5060 (office)
                                  817-416-5062 (fax)
                                  Email chris@crmlawpractice.com

                                  Attorneys for Plaintiff



                      CERTIFICATE OF SERVICE

    Service is being effectuated via the CM/ECF system.

                                  s/ Chris R. Miltenberger
                                  Chris R. Miltenberger




__________________________________________________________________
              Entry of Appearance of Chris R. Miltenberger
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